      Case 1:18-cv-00533-JTN-ESC ECF No. 3 filed 05/14/18 PageID.160 Page 1 of 1
 W DMI Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1 or Fed. R. Crim. P. 12.4 (4/06)




                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF MICHIGAN

Scottsdale Capital Advisors Corp.

                       Plaintiff(s),                                             Case No. 1:18-cv-00533

 v.
                                                                                 Hon. Janet T. Neff
MorningLightMountain, LLC, et. al.
             Defendant(s).
 __________________________________/


             DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

                                                                                               MorningLightMountain, LLC
 Pursuant to Federal Rule of Civil Procedure 7.1,                                   _________________________________
                                                                                                        (Party Name)
 makes the following disclosure:

            1. Is party a publicly held corporation or other publicly held entity?                                      Yes   ✔ No

            2. Does party have any parent corporations?          Yes ✔ No
               If yes, identify all parent corporations, including grandparent and great-grandparent
               corporations:




            3. Is 10% or more of the stock of party owned by a publicly held corporation or other
               publicly held entity?      Yes ✔ No
               If yes, identify all such owners:




            4. Is there any other publicly held corporation or other publicly held entity that has a direct
               financial interest in the outcome of the litigation?    Yes ✔ No
               If yes, identify entity and nature of interest:




                        May 14, 2018
 Date: __________________________                                                ___________________________________
                                                                                                          (Signature)
                                                                                 JOSEPH E. RICHOTTE (P70902)
                                                                                 BUTZEL LONG, P.C.
                                                                                 41000 Woodward Avenue, Stoneridge West
                                                                                 Bloomfield Hills, Michigan 48304
                                                                                 (248) 258-1616 | richotte@butzel.com
